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                         UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Thomas B. McNamara


   In re:
                                                 Bankruptcy Case No. 18-10965 TBM
   11380 SMITH RD LLC,                           Chapter 11

   Debtor.
 _______________________________________________________________________

     ORDER PARTIALLY APPROVING FIRST AND FINAL FEE APPLICATION OF
                       WEINMAN & ASSOCIATES, P.C.
 _______________________________________________________________________

        THIS MATTER comes before the Court on the “First and Final Application for
 Allowance and Payment of Compensation and Reimbursement of Expenses of Weinman
 & Associates, P.C.” (Docket No. 144, the “Application”) filed by counsel for the Debtor,
 Weinman & Associates, PC. (the “Applicant”). The Applicant asserts it provided proper
 notice of its Application and no objections were filed.

        In the Application, the Applicant requests final approval of a total of $44,476.46 of
 fees, consisting of $21,329.42 of amounts already paid by the Debtor through application
 of the balance of a retainer and interim compensation, plus $23,147.04 in unpaid fees.
 The Applicant also requests final approval of a total of $1,020.66 in expenses, all of which
 the Debtor has already paid through application of a retainer held by Applicant and interim
 fee reimbursement.

        The Court carefully reviewed the Application and all supporting materials. The
 Court has determined that the Cover Sheet (Docket No. 144) and the text of the
 Application are erroneous because they overstate the amount of fees billed. More
 specifically, the text of the Application requests a total of $44,476.46 in fees. However,
 Exhibit B (the Narrative of Services Performed) details the fees in only two categories.
 The first category consists of fees charged for “General Case Administration.” In this
 category, the Application claims $16,100.50 in fees have been billed. The second
 category consists of fees charged for “Plan and Disclosure Statement.” In this category,
 the Application has billed $21,396.00 in fees. Thus, in Exhibit B, the total of fees billed by
 Applicant is only $37,496.50 ($16,100.50 + $21,396.00), not the $44,476.46 asserted in
 the text of the Application and the Cover Sheet.

        Given the discrepancy between Exhibit B, the Application and the Cover Sheet, the
 Court carefully scrutinized the Applicant’s underlying billing records attached to the
 Application as Exhibit C. The billing records are consistent with Exhibit B (the Narrative
 of Services Performed). That is – the billing records show that Applicant billed only a total
 of $37,496.50 in fees, not the $44,476.46 stated in the text of the Application and Cover
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 Sheet. The Court also confirmed that the Applicant charged $1,020.66 in expenses, all of
 which has been paid.

       Based on the foregoing, pursuant to 11 U.S.C. §§ 330 and 331, the Court:

       ORDERS that the Applicant is awarded reasonable compensation for actual and
 necessary services in the total amount of $37,496.50; and

       FURTHER ORDERS that after deducting the amount of $21,329.42 which has
 already been paid to Applicant through application of a retainer and interim
 compensation, the Debtor is authorized to pay the Applicant the remaining balance of
 $16,167.08; and

        FURTHER ORDERS that the Applicant is awarded $1,020.66 for “reimbursement
 for actual necessary expenses” all of which already has been paid through application of
 a retainer or interim compensation, so the Debtor is not authorized to reimburse the
 Applicant for any additional expenses.

       DATED this 12th day of December, 2018.

                                                BY THE COURT:



                                                Thomas B. McNamara,
                                                United States Bankruptcy Judge
